            Case 4:18-cr-00710 Document 129 Filed on 09/05/22 in TXSD Page 1 of 15

                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

      UNITED STATES OF AMERICA                  §
                                                §      CR NO. 4:18-CR-710
                                                §
                                                §      Lee H. Rosenthal
      VS.                                       §      Judge
                                                §
                                                §      Lisa Eddins         ____________
      CLARENCE ROLAND, III                      §      Case Manager        Court Reporter
                                                             Jury Trial Proceeding

                                 EXHIBIT LIST OF GOVERNMENT

No.                            Description                       Offr     Obj.    Admit     N/Adm

                      Incorporation Documents
1       Restoreloution Trustee Corporation (Washington)
2       Restorelution Reconveyance Corporation (Nevada)
3       Canaan Development Inc. (Nevada)
4       United National Title Company, LLC (Nevada)
4a      Truth in Lending Associates, Corp (Nevada)
5       Sooner Trustee Services, LLC (Oklahoma)
6       Federal National Services, LLC (Nevada)
7       Midwest Regional Pass Through, LLC (Nevada)
8       National Recovery REO Services, Inc. (Deleware)
9       Ananias & Sapphira Investors Group, LLC (Oklahoma)
10      Colossians Investors Group, LLC (Nevada)
10a     Corinthians Investors Group, LLC (Nevada)
11      Southwest Security Passthrough, LLC (Oklahoma)
        Nevada Legal Forms records concerning Truth in
        Lending Associates, Corp. 9595 Six Pines Dr., Suite
12      8210, The Woodlands, Texas
12a     Chart of incorporated entities
                  422 Windsor Way NE, Renton, WA
        Northwest Title LLC records for 422 Windsor Way NE,
13      Renton, WA
13a     Windsor Way chart
           Case 4:18-cr-00710 Document 129 Filed on 09/05/22 in TXSD Page 2 of 15
       EXHIBIT LIST OF GOVERNMENT; CR NO. 4:18-CR-710



 No.                             Description                        Offr   Obj.   Admit   N/Adm

          Certified copy of Notice of Trustee’s Sale filed
14a       11/19/2007
          Certified copy of Notice of Trustee’s Sale filed
14b       2/26/2008
          Certified copy of Notice of Trustee’s Sale filed
14c       12/31/2008
          Certified copy of Notice of Discontinuance of Trustee’s
14d       Sale filed 2/23/2009
14e       Special Power of Attorney
          Certified copy of Deed of Trust: Grantor- Arlando Ray
          & T. Jacobs Grantee- Ownit Mortgage Solutions and
 14f      Mortgage Electronic Registration Systems, Inc. (MERS)
          Certified copy of Special Power of Attorney Northwest
          Ownit Mortgage Solutions, Inc. 2006 Corporate Pass
          Thru Certificates Series 2006 appoints National
          Recovery REO Services, Inc.-Caleb Wright as
14g       Attorney-in-Fact
14h       Flow of funds chart Windsor Way
                3306 Claremont Ave. South, Seattle, WA
          Northwest Title, LLC/Nextitle records for 3306
 15       Claremont Ave. South, Seattle, WA
          Certified copy of Deed in Lieu of Foreclosure from T.T.
15a       Duong to Clarence Roland
15b       Certified copy of Quit Claim Deed T. & Arlando Jacobs
          Certified copy of Statutory Warranty Deed Grantor:
15c       Clarence Roland; Grantee T. Jacobs
          Certified copy of Notice of Trustee’s Sale on Duong
15d       Deed of Trust
          Certified copy of Deed of Trust 1st Note- Borrowers T.
          & Arlando Jacobs; Lendor Central Pacific Mortgage
15e-1     Company; Beneficiary MERS
          Certified copy of Deed of Trust 2nd Note- Borrowers T.
          & Arlando Jacobs; Lendor Central Pacific Mortgage
15e-2     Company; Beneficiary MERS
15f-1     Certified copy of 10/30/2009 Notice of Trustee’s Sale
15f-2     Certified copy of 3/9/2010 Notice of Trustee’s Sale
                                                 Page 2 of 15
           Case 4:18-cr-00710 Document 129 Filed on 09/05/22 in TXSD Page 3 of 15
       EXHIBIT LIST OF GOVERNMENT; CR NO. 4:18-CR-710



 No.                             Description                         Offr   Obj.   Admit   N/Adm

15f-3     Certified copy of 3/17/2010 Notice of Trustee’s Sale
15f-4     Certified copy of 3/30/2010 Notice of Trustee’s Sale
15g       Certified copy of Notice of Fraud and Intent to Litigate
          Certified copy of Notice of Revocation of Power of
15h       Attorney
 15i      Certified copy of Notice of Right to Cancel
15j-1     Certified copy of Lis Pendens dated 3/5/2010
15j-2     Certified copy of Notice of Lis Pendens dated 6/11/2010
          Certified copy of Assignment of Deed of Trust Grantor:
          T. & Aralando Jacobs Grantee: 3306 Claremont Avenue
15k       Trust signed by Clarence Roland as Attorney-in-Fact
          Certified copy of Statutory Warranty Deed Grantor: T.
 15l      Jacobs; Grantee: 3306 Claremont Avenue Trust
          Certified copy of Abstract of Trust naming C. Roland as
15m       trustee for 3306 Claremont Avenue Trust
          Certified copy of Trustee’s Deed Upon Sale by Quality
          Loan Service Corporation as Trustee to Aurora Loan
15n       Services, LLC
          Certified copy of Deed of Trust Grantor: 3306
          Claremont Avenue Trust Grantee: InterBank Loan
          Servicing Corporation Trustee: United National Title
15o       Company to secure loan of $525,000
          Certified copy of Recission of Trustee’s Deed Upon
          Sale signed S. Dockery as Authorized Agent of Aurora
15p       Loan Services
          Certified copy of Statutory Warranty Deed Grantor:
          “Aurora Loan Services, LLC” Grantee: Drexel
          Investments, Inc. Signed by Caleb Wright of National
          Recovery REO Services, Inc. as Attorney-in-Fact for
15q       Aurora Loan Services
          Certified copy of Deed of Trust signed by Drexel
15r       Investments, LLC to Eastside Funding, LLC
15s       Claremont Chart
          Stewart Title Company records for 3306 Claremont
 15t      Ave. South, Seattle, WA
            10309 Southridge Dr., Rancho Cuacamonga, CA
                                                 Page 3 of 15
          Case 4:18-cr-00710 Document 129 Filed on 09/05/22 in TXSD Page 4 of 15
      EXHIBIT LIST OF GOVERNMENT; CR NO. 4:18-CR-710



No.                             Description                        Offr   Obj.   Admit   N/Adm

         Fidelity Title records for 10309 Southridge Dr., Rancho
16       Cuacamonga, CA
16a      Flow of Funds chart 10309 Southridge
           1644 Caminito Barlovento Unit 98, La Jolla, CA
         Equity Title Records for 1644 Caminito Barlovento Unit
17       98, La Jolla, CA
18       People’s Escrow records for 1644 Caminito Barlovento
18a      Flow of funds chart 1644 Caminito Barlovento
                 1725 Crossroads St., Chula Vista, CA
19       Pacific Coast Title records for 1725 Crossroads St
20       Hermosa Escrow records for 1725 Crossroads St
20a      Flow of funds chart Crossroads
             16013 South Desert Foothills Parkway #2024
                              Phoenix, AZ
         Equity Title records for 16013 South Desert Foothills
21       Parkway #2024
         Flow of funds chart 16013 South Desert Foothills
21a      Parkway
         Affidavit for Business Records, Fidelity National Title
21b      Insurance Company - Certified copy of property records
         Certified copy of Deed of Trust Borrowers: S & S
         Young; Lendor- First Horizon Home Loans, A Division
22a      of First Tennessee Bank N.A.
         Certified copy of Full Reconveyance by Federal
22b      National Services as Trustee
         Certified copy of Affidavit of Property Value signed by
23a      S & S Young as buyers
         Certified copy of Affidavit of Property Value signed by
23b      Joshua Stein as buyer
          3830 Lakewood Parkway East #2137, Phoenix, AZ
         Equity Title records for 3830 Lakewood Parkway East
24       #2137
         Fidelity Title records for 3830 Lakewood Parkway East
25       #2137

                                                Page 4 of 15
          Case 4:18-cr-00710 Document 129 Filed on 09/05/22 in TXSD Page 5 of 15
      EXHIBIT LIST OF GOVERNMENT; CR NO. 4:18-CR-710



No.                             Description                         Offr   Obj.   Admit   N/Adm

         Certified copy of Deed of Trust Borrower Steven &
26       Susan Young; Lender First Horizon Home Loans
         Certified copy of Corporate Assignment of Deed of
         Trust Grantor-First Horizon Home Loans, A Division
         of First Tennessee Bank N.A.; Grantee- Southwest First
         Horizon 2007 Corporate Pass-Through Certificates
26a      Series 2007
         Certified copy of Appointment of Successor Trustee by
         Southwest First Horizon 2007 Corporate Pass-Through
         Certificates Series 2007 of Federal National Services,
26b      LLC
         Certified copy of Deed in Lieu of Foreclosure Grantor-
         S. & S. Young; Grantee- Southwest First Horizon 2007
26c      Corporate Pass-Through Certificates Series 2007
         Certified copy of Affidavit of Individual Giving Deed in
26d      Lieu of Foreclosure
         Certified copy of Grant, Bargain, and Sale Deed
         Grantor- Southwest First Horizon 2007 Corporate Pass-
         Through Certificates Series 2007 Grantee- Annanias &
26e      Sapphira Investors Group, LLC
         Certified copy of Affidavit of Property Value Seller-
         Southwest First Horizon 2007 Corporate Pass-Through
         Certificates Series 2007; Buyer- Annanias & Sapphira
26f      Investors Group, LLC
         Certified copy of Deed of Trust Borrower- Annanias &
         Sapphira Investors Group, LLC; Lender- InterBank
26g      Loan Servicing Corp; Trustee- United National Title Co
         Certified copy of Full Reconveyance Federal National
         Services on behalf of First Horizon Home Loans, A
26h      Division of First Tennessee Bank, N.A.
         Certified copy of Affidavit of Property Value Seller-
         Annanias & Sapphira Investors Group, LLC; Buyer-
26i      Paynet Insurance Services, Inc.
         Certified copy of Warranty Deed Grantor-Annanias &
         Sapphira Investors Group, LLC; Grantee- Paynet
26j      Insurances Services, Inc.
26k      Flow of funds chart Lakewood Parkway
                802 S. Cajon Avenue, West Covina, CA

                                               Page 5 of 15
          Case 4:18-cr-00710 Document 129 Filed on 09/05/22 in TXSD Page 6 of 15
      EXHIBIT LIST OF GOVERNMENT; CR NO. 4:18-CR-710



No.                             Description                        Offr   Obj.   Admit   N/Adm

         EscrowNet records for 802 S. Cajon Avenue, West
27       Covina, CA
27a      S. Cajon Ave Chart
27b      Cajon wire chart
         Certified copy of Deed in Lieu of Foreclosure Grantor-
         N. & A. Cailipan; Grantee- Bayrock Mortgage
         Corporation, its Successor in Assigns, Southwest
         Bayrock 2005 Corporate Pass-Through Certificates
28a      Series 2005
         Certified copy of Grant, Bargain and Sale Deed
         Grantor- Southwest Bayrock 2005 Corporate Pass-
         through Certificates Series 2005; Grantee- Ananias &
28b      Sapphira Investors Group, LLC.
         Certified copy of Quit Claim Deed Grantor-Bayrock
         Mortgage Corporation, its Successor in Assigns,
         Southwest Bayrock 2005 Corporate Pass-Through
         Certificates Series 2005; Grantee- Ananias & Sapphira
28c      Investors Group, LLC
         Certified copy of Grant Deed Grantor-Annanias &
         Sapphira Investors Group, LLC; Grantee- PayNet
28d      Insurance Services, Inc
         Certified copy of Grant Deed Grantor- PayNet
         Insurance Services, Inc.; Grantee-Hett Investment
28e      Group, LLC
28f      Flow of funds chart Cajon Ave
             1377 Mountain View Lane, Chula Vista, CA
29       Elite Escrow records for 1377 Mountain View Ln.
29a      Mountain View Chart
         Certified copy of Deed in Lieu of Foreclosure Grantor-
         E. & A. Rausa; Grantee- Southwest MCIG Capital 2007
30a      Corporate Pass-Through Certificates Series 2007
         Certified copy of Grant Deed Grantor- Southwest
         MCIG Capital 2007 Corporate Pass-Through
         Certificates Series 2007; Grantee- Colossians Investors
30b      Group, LLC




                                               Page 6 of 15
          Case 4:18-cr-00710 Document 129 Filed on 09/05/22 in TXSD Page 7 of 15
      EXHIBIT LIST OF GOVERNMENT; CR NO. 4:18-CR-710



No.                            Description                        Offr   Obj.   Admit   N/Adm

         Certified copy of Deed of Trust Borrower- Colossians
         Investors Group, LLC; Lender- InterBank Loan
30c      Servicing Corp; Trustee-Southwestern Land Title
         Certified copy of Grant Deed Grantor-Colossians
         Investors Group, LLC; Grantee: Cove Capital
30d      Properties, LLC
         Certified copy of Grant Deed Grantor-Cove Capital
30e      Properties, LLC
         Certified copy of Deed of Trust Borrowers- E. & A.
30f      Rausa; Lender- MCIG Capital Corporation
         California Title Co. records for 1377 Mountain View
30g      Ln, Chula Vista, CA closing in Oct. 2014
30h      Flow of funds chart Mountain View
                   402 3rd Avenue East, Polson, MT
         First American Title Company records for 402 3rd Ave
31       East
31a      402 3rd Ave. East, Polson, MT Chart
         Certified copy of Corporation Assignment of Deed of
         Trust Grantor-Federal National Mortgage Association;
         Grantee- Northwest Eagle Bank 2009 Corporate Pass-
32a      Through Certificates Series 2009
         Certified copy of Appointment of Successor Trustee
         Northwest Eagle Bank 2009 Corporate Pass-Through
         Certificates Series 2009 appoints Federal National
32b      Services, LLC Trustee
         Certified copy of Trustee’s Deed Trustee-First
         American Title Company of Montana, Inc.; Beneficiary-
32c      Fannie Mae
         Certified copy of Recission of Trustee’s Deed Trustee-
32d      Federal National Services, LLC
         Certified copy of Deed in Lieu of Foreclosure Grantor-
         C.M. Green; Grantee Eagle Bank, its successor in
         assigns, Northwest Eagle Bank 2009 Corporate Pass-
32e      Through Certificates Series 2009




                                               Page 7 of 15
          Case 4:18-cr-00710 Document 129 Filed on 09/05/22 in TXSD Page 8 of 15
      EXHIBIT LIST OF GOVERNMENT; CR NO. 4:18-CR-710



No.                            Description                      Offr   Obj.   Admit   N/Adm

         Certified copy of Grant, Bargain, and Sale Deed
         Grantor- Northwest Eagle Bank 2009 Corporate Pass-
         Through Certificates Series 2009 conveys to Grantee-
32f      P&W Property Investments, LLC for $150,000
         Certified copy of Deed of Trust Borrower- P&W
         Property Investments, LLC; Lender- InterBank Loan
         Servicing Corp; Trustee- Southwestern Land Title
32g      Company
         Certified copy of Full Reconveyance Grantor-P&W
         Property Investments, LLC; Beneficiary-InterBank
         Loan Servicing Corp; Trustee-Southwestern Land Title
32h      Company
32i      Flow of funds chart 402 3rd Ave. East, Polson, MT
                             Bank Records
         Wells Fargo Bank account xxx7179 held in the name
         Federal National Services LLC (authorized signers
33       Arlando Jacobs and Clarence Roland)
         Wells Fargo Bank account xxx0515 and xxx0635 held
34       in the name Clarence Roland
         Wells Fargo accounts xxx6274 and xxx7967 held in the
         name of Canaan Land Ministries (authorized signer
35       Clarence Roland)
         Wells Fargo accounts xxx6282 and xxx7975 held in the
         name National Recovery REO Services Inc. (authorized
36       signer Clarence Roland)
         Wells Fargo accounts xxx6282 held in the name
         National Recovery REO Services Inc.; Withdrawal/
36a      Deposit of $29,200.00
         Wells Fargo accounts xxx7055 and xxx6029 held in the
         name Midwest Regional Pass Through LLC (authorized
37       signer Clarence Roland)
         Wells Fargo accounts xxx1263, xxx1271, xxx9413 held
         in the name Colossians Investors Group LLC
38       (authorized signer Clarence Roland)
         Bank of America account xxx2643 held in the name
39       Restorelution Reconveyance Corporation



                                              Page 8 of 15
          Case 4:18-cr-00710 Document 129 Filed on 09/05/22 in TXSD Page 9 of 15
      EXHIBIT LIST OF GOVERNMENT; CR NO. 4:18-CR-710



No.                             Description                        Offr   Obj.   Admit   N/Adm

         Bank of America account xxx6171 held in the name
         Anaias and Sapphira Investors Group LLC (authorized
40       signor Donnie Nabors)
         US Bank account 3904 held in the name Restoreloution
41       Trustee Corporation
         US Bank account 2644 held in the name Ren’Esans
42       Development LLC (authorized signer Clarence Roland)
         Woodforest National Bank account xxx0796 held in the
         name of National Recovery REO Service, Inc.
43       (authorized signer Bruce Jacobs)
         USAA Federal Savings Bank account 7741 held in the
44       name Donnie Nabors
         Union Bank, NA account xxx9298 held in the name of
45       Virginia Johnson
         Banner Bank account xxx1810 held in the names of
46       Kenneth and Steven Young
         Rabobank, N.A. account xxx2822 held in the name of
47       The Hallau Property Trust Thomas Ayer, Trustee
         CalPrivate Bank account xxx6016 held in the name of
48       G.L. Martin Properties, LLC
         KeyBank account xxx8822 held in the name of Virtuous
49       Women Ministries
         Wells Fargo Bank accounts xxx 2733 and 8633 held in
         the name Infinite Realty LLC (authorized signers
50       Adelaine and Norman Cailipan)
         Bank of America account xxx4103 held in the name
51       National Asset Works, LLC
         Bank of America account xxx4845 held in the name
         Trimergence Brown (authorized signers Amber Jackson
52       Brown and James Brown)
         First Security Bank Account Agreement for P&W
53       Property Investment LLC account xxx1359
         Bank of America account xxx4005 held in the name
         Jacorp Industries, Inc. (authorized signers Arlando and
54       Trina Jacobs)



                                               Page 9 of 15
         Case 4:18-cr-00710 Document 129 Filed on 09/05/22 in TXSD Page 10 of 15
      EXHIBIT LIST OF GOVERNMENT; CR NO. 4:18-CR-710



No.                            Description                         Offr   Obj.   Admit   N/Adm

                           MISCELLANEOUS
60       LogMeIn USA, Inc. spreadsheet
60a      Comcast IP address documents
         Texas Secretary of State records from the Notary Public
61       Records regarding F. Vasquez and Ming Li
         Texas Secretary of State records from the Notary Public
61a      Records regarding M. Tereza
         Texas Secretary of State records from the Notary Public
61b      Records regarding J. Gonzalez
         Texas Secretary of State Notary Public Records
         confirming notary commissions for Ming Li and F
61c      Vasquez
62       UPS Store records 565 South Mason Road, Katy, TX
63       FDIC Certificate Bank of America (Certified 7/2/2021)
64       FDIC Certificate Wells Fargo Bank (Certified 7/2/2021)
         FDIC Certificate First Tennessee Bank (Certified
65       7/2/2021)
         FDIC Certificate The Bank of New York Mellon
66       (Certified 7/2/2021)
67       FDIC Certificate US Bank N.A. (Certified 7/2/2021)
68       Synargo records
69       Visualnet Media records
         Invoice to Truth in Lending Associates Corporation
69a      from Visual net Media Inc., dated 1/1/2016
70       Rental agreement for 11 Scarlet Sage Place, Spring, TX
71       Houston Dental records
         Houston Dental Implant Center Ledger for Clarence
71a      Roland on 09/02/2021
72       Regus records
73       January 12th to January 16, 2012 email exchanges
74       June 8, 2012 email from Clarence Roland
75       August 9, 2012 email from Clarence Roland

                                              Page 10 of 15
         Case 4:18-cr-00710 Document 129 Filed on 09/05/22 in TXSD Page 11 of 15
      EXHIBIT LIST OF GOVERNMENT; CR NO. 4:18-CR-710



No.                             Description                     Offr   Obj.   Admit   N/Adm

         August 14, 2012 email from Clarence Roland
76       forwarding email from Shamrock Escrow
77       November 8, 2012 email from Caleb Wright
78       March 22, 2013 email from Greg Wilson
79       April 25, 2013 email from Caleb Wright
80       May 14, 2013 email chain
         August 19, 2013 emails from Clarence Roland to Tom
81       Hautka
82       August 20, 2013 email from Roland to Hautka
83       December 9, 2013 emails between Hautka and Roland
84       July 7, 2014 emails between Hautka and Roland
85       July 22, 2014 emails between Hautka and Roland
86
86a
87
88       Photo of UPS Store 565 S. Mason Road, Katy, TX
88a      Photo of Box 405 at UPS Store
89       Photo of 5847 San Felipe, Houston, TX
89a      Photo of 9595 Six Pines, The Woodlands, TX
                        Washington State Search
         Photo of mail addressed to Clarence Roland at 5016
90       Fairwood Blvd. NE Apt 5, Tacoma, WA
91       Photo of desk area
92       Photo of computer equipment
93       Photo of worktable and printer
94       Photo of spiral notebooks in bedroom
95       Photo of 2nd bedroom
96       Photo of Storage Facility
97       Photo of Unit 0005
98       Photo of interior of unit 0005

                                                Page 11 of 15
         Case 4:18-cr-00710 Document 129 Filed on 09/05/22 in TXSD Page 12 of 15
      EXHIBIT LIST OF GOVERNMENT; CR NO. 4:18-CR-710



No.                              Description                     Offr   Obj.   Admit   N/Adm

99       Photo of files in filing cabinets
100      Texas notary stamp F. Vasquez
100a     Photo of notary stamp in the name F. Vasquez
101      Texas notary stamp Ming Li
101a     Photo of notary stamp in the name Ming Li
102      Washington notary stamp Danielle Yvette Wright
         Photo of notary stamp in the name Danielle Yvette
102a     Wright
         Stamp- Bayrock Mortgage Corporation, its Successor in
         Assigns, Southwest Bayrock 2005 Corporate Pass-
         Through Certificates Series 2005 by: Angies Garcia,
103      Secretary
103a     Photo of Bayrock Mortgage Corporation stamp
         Stamp- Read, Accepted and Approved By: Northwest
104      America’s Wholesale Mary Ann Sanchez
104a     Photo of Northwest America’s Wholesale stamp
         Stamp- Northwest Countrywide 2008 Corporate Pass-
105      Through Certificates 2008
105a     Photo of Northwest Countrywide stamp
106      Stamp- Angie Garcia
106a     Photo of Angie Garcia stamp
107      Stamp- Ming Li
107a     Photo of Ming Li stamp
108      Stamp- Sharon James, Authorized Agent
108a     Photo of Sharon James stamp
         Stamp- Pay to the Order of Bank of America Las Vegas,
         NV 89183-6290 For Deposit Only Restorelution
109      Reconveyance Corporation xxxxx2643
         Photo of Bank of America stamp for Restorelution
109a     Reconveyance Corporation
110      Photo of business and debit cards
         Wells Fargo Bank Transaction Receipt for deposit of
111      $29,200.00 credited on 4/17/2014
                                               Page 12 of 15
         Case 4:18-cr-00710 Document 129 Filed on 09/05/22 in TXSD Page 13 of 15
      EXHIBIT LIST OF GOVERNMENT; CR NO. 4:18-CR-710



No.                            Description                      Offr   Obj.   Admit   N/Adm

         Purchaser Copy of $22,8000 Cashier’s Check purchased
         from Wells Fargo Bank on October 30, 2014 payable to
112      Vitruous Women Ministries.
         Purchaser Copy of $15,000 Cashier’s Check purchased
         from Wells Fargo Bank on October 30, 2014 payable to
113      Clarence Roland
         Purchaser Copy of $50,000 Cashier’s Check purchased
         from Wells Fargo Bank on April 30, 2015 payable to
114      Clarence Roland
         Copy of October 2, 2015 letter from First American
         Professional Real Estate Services to Interbank Loan
         Servicing Corp re: 3830 E. Lakewood Pkwy #2137,
115      Phoenix, AZ
         Copy of October 2, 2015 letter from First American
         Professional Real Estate Services to Interbank Loan
         Servicing Corp re: 16013 S. Desert Foothills Pkwy
116      #2024, Phoenix, AZ
         Copy of front page of the Deed in Lieu of Forclosure
         from N & A Cailipan to Bayrock Mortgage
         Corp/Southwest Bayrock 2005 Corporate Pass-Through
117      Certificates Series 2005.
         Copy of 2013 1099 from TILA CORP/Truth in Lending
118      Associates Corp to Donnie Nabors.
         Copy of first page of Seller’s Closing Statement
119      Estimated for 802 South Cajon Ave, West Covina, CA
         National Recovery REO Services Cash for Keys and
         Release Agreement with Susan Stewart re: 1644
120      Caminito Barlovento, La Jolla, CA
         Letter from John A. Murphy of Mortgage Electronic
         Registration Systems, Inc. “MERS” with attached
121      Substitution of Trustee document.
         Copy of layout of Joshua Stein TILA Corp business
122      card
123      Copy of U-Haul Self-Storage receipt for Unit 0005
         Business card for Regus, 9595 Six Pines Dr., Suite
124      8210, The Woodlands, TX
         Toll Violation notice from Harris County Toll Road
125      Authority
                                              Page 13 of 15
         Case 4:18-cr-00710 Document 129 Filed on 09/05/22 in TXSD Page 14 of 15
      EXHIBIT LIST OF GOVERNMENT; CR NO. 4:18-CR-710



No.                            Description                        Offr   Obj.   Admit   N/Adm

         Copy of Cash for Keys and Release Agreement for 1644
126      Caminito Barlovento, La Jolla, CA
         Copy of Promissory Note between Susan Stewart and
127      Clarence Roland
128      Alaska Airlines Production PNRs flown
128a     Alaska Airlines Production PNRs not flown
128b     Alaska Airlines Production Business Record Affidavit
         Certified Records form the Texas Department of Public
129      Safety for Fidel Vasquez
         Documents from Kandakar Alam concerning Interbank
130      loan
131
         Certificate of Formation For-Profit Corporation – Kiwi
132      Solutions Incorporated
133      Bank of America records – Jaleecia Roland, Acct #8126
134      Regus Office Space – 9595 Six Pines Drive
135      UPS Store – 565 S. Mason Road
136      Regus Office Space – 5847 San Felipe
137      Chart – 1644 Caminito Barlovento
138      Chart - 16013 S. Desert Foothills Pkwy
139      Chart - 3830 E. Lakewood Pkwy
140      Chart - 10309 Southridge Drive
141      Chart - 1725 Crossroads Street




                                              Page 14 of 15
    Case 4:18-cr-00710 Document 129 Filed on 09/05/22 in TXSD Page 15 of 15
EXHIBIT LIST OF GOVERNMENT; CR NO. 4:18-CR-710




                                                    Respectfully submitted,

                                                    JENNIFER B. LOWERY
                                                    United States Attorney


                                             By:    /s/ John Braddock
                                                    John Braddock
                                                    John Wakefield
                                                    Assistant United States Attorneys
                                                    1000 Louisiana St., Suite 2300
                                                    Houston, Texas 77002
                                                    (713) 567-9000


                                CERTIFICATE OF SERVICE

I hereby certify that the foregoing United States’ Proposed Exhibit List was filed on September 5,
2022 and a copy served electronically by the Court’s CM/ECF System on David Nachtigall,
Standby Counsel of record and emailed to defendant Clarence Roland.

                                                    /s/ John Braddock
                                                    John Braddock
                                                    John Wakefield
                                                    Assistant United States Attorneys




                                          Page 15 of 15
